 8:13-cr-00254-JMG-TDT            Doc # 16   Filed: 06/26/13   Page 1 of 1 - Page ID # 30




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )         CASE NO. 8:13CR254
                                             )
                     Plaintiff,              )
                                             )
       -vs-                                  )                      ORDER
                                             )
Roger Abbott,                                )
                                             )
                     Defendant.              )
                                             )

       This matter comes before the Court on the request of the Federal Public Defender

for the Court to authorize Nathan S. Lab, as a Criminal Justice Act Training Panel Member,

to assist in the defense of Roger Abbott.

       Accordingly, pursuant to the terms of Appendix I, Part 1(c) of the Amended Criminal

Justice Act Plan for the District of Nebraska, Nathan S. Lab is hereby assigned to assist

the CJA Panel Attorney Jim K. McGough in the representation of the Defendant in the

above-captioned case, and must file an entry of appearance forthwith. Nathan S. Lab shall

not be eligible to receive compensation for his services in this case.

       CJA Attorney Jim K. McGough shall continue to be primary counsel on behalf of the

Defendant, Roger Abbott.

       Dated: June 26, 2013

                                     BY THE COURT:


                                     s/ Thomas D. Thalken
                                     United States Magistrate Judge
